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Mark Ahlemeyer, OSB No. 095997
Assistant Federal Public Defender
Email: mark_ahlemeyer@fd.org
101 SW Main Street, Suite 1700
Portland, OR 97204
Tel: (503) 326-2123
Fax: (503) 326-5524

Attorney for Defendant




                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON




 UNITED STATES OF AMERICA,
                                              Case No. 3:18-cr-00072-HZ
                           Plaintiff,
                                              SUPPLEMENTAL REPLY
                    v.                        TO GOVERNMENT’S
                                              RESPONSE TO
 TYRONE LAMONT ALLEN,                         DEFENDANT’S MOTION
                                              TO SUPPRESS
                           Defendant.


       The defendant, Tyrone Allen, through counsel, Mark Ahlemeyer, submits the

following supplemental reply to the government’s Notice of Supplemental Authority (CR

51).




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       After a hearing in which both government witnesses admitted they knew of no

protocol, case law, or other authority that permitted them to digitally alter a suspect’s photo

to make him conform to what the objective evidence showed the perpetrator looked like,

and after the government’s legal briefing also failed to cite any such authority, the

government has now filed a post-hearing pleading directing the Court to a district court

decision out of California, United States v. Ellis, 121 F.Supp.3d 927 (N.D. Cal. 2015) (Ellis

I) supplemented by United States v. Ellis, 2015 WL 6551628 (N.D. Cal. 2015) (unreported)

(Ellis II). Despite the government’s claims, Ellis does not support the manipulation of the

source photo done in this case.

       As an initial matter, there were numerous photo arrays used in Ellis, as there were

multiple perpetrators, but the government only discusses one. The arrays that were not cited

by the government support the defense argument that the actions in Mr. Allen’s case went

too far. For example, in one array, despite the witness stating that the perpetrator had

dreadlocks, a mustache, and a small goatee, police used a picture in which the suspect had

none of those features. Officers did not digitally alter the source photo to conform the

suspect’s picture to the witness report. Ellis II at *1. It also appears that for multiple photo

arrays, officers simply told witnesses to be aware that people’s appearances can change.

Id. at *2 (written admonition stated “photographs do not always depict the true complexion

of a subject; they can be darker or lighter”); see also id. (verbal admonition stating: “The

hair can change. The beards, mustaches . . . and the complexion can be different.”). In none



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of the arrays did officers actually use Photoshop to change the suspect’s complexion, hair

style, or facial hair. And certainly, in no array did officers digitally remove prominent facial

features for the sole purpose of conforming the suspect’s face to the objective evidence of

what the perpetrator looked like; instead, they simply warned the witnesses that

appearances can be changed.

       In any event, even the photo array cited by the government does not support its

argument. In that array, officers initially showed a witness (who was also a police officer)

a set of photographs that included an unaltered picture of the suspect. Ellis I at 934. Because

the perpetrator had been wearing a black hooded sweatshirt, the witness requested to see

the photos in the array with the addition of a black hood. In response, investigators digitally

added the exact same black hood around the faces of each person in the photo array. Id.

The witness then selected the defendant.

       Importantly, in contrast to Mr. Allen’s case, at no point did the investigators in Ellis

change any aspect or feature of the suspect’s face. They did not digitally remove any

prominent facial features, such as moles, scars or tattoos, which conflicted with the

objective evidence. There is no report that they changed the coloration of the picture or

brightened or darkened the image in places, as also occurred here. Instead, at the witness’s

request, after showing an array with unaltered pictures, officers produced a second array

where all the faces were surrounded by the same article of clothing.




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       The government’s reliance on Ellis is misplaced. Ellis demonstrates that the proper

approach is to use an unaltered source photo. Had the bank tellers here requested to see the

photo array a second time with each person wearing a baseball hat, then Ellis would be

applicable. The question in this case is not whether law enforcement can add clothing to

all photos at a witness’s request where the remaining picture continues to show all facial

features—unaltered—that the witness would have been able to see. Instead, the question is

whether the police can alter a photo on their own accord to remove distinctive facial

characteristics that conflict with objective video evidence and eyewitness reports. For the

sake of fundamental fairness, reliability, and to prevent the deterioration of the public’s

confidence in the criminal justice system, the answer should be no.

       RESPECTFULLY submitted this 19th day of August, 2019.


                                          /s/ Mark Ahlemeyer
                                          Mark Ahlemeyer
                                          Assistant Federal Public Defender




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